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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY



UNITED STATES OF AMERICA


v.                                       CRIMINAL NO. 5:17-00113-16

JONATHAN VINCENT MOORE


                     MEMORANDUM OPINION AND ORDER


        In Bluefield, on March 13, 2018, came the defendant

Jonathan Vincent Moore, in person and by counsel, Michael D.

Payne, Esquire, and came the United States by Timothy D.

Boggess, Assistant United States Attorney, for the purpose of

considering the defendant’s plea of guilty to Count Ten of the

Superseding Indictment charging him with possession with intent

to distribute 500 grams or more of cocaine, in violation of 21

United States Code, Section 841(a)(1).          Teresa King, Senior

Probation Officer, appeared on behalf of the United States

Probation Department.

        The court inquired of the defendant, addressing him

personally and by counsel, to determine the competency of the

defendant to proceed.     The court found the defendant competent.
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          The court informed the defendant of the maximum

penalties to which he will be exposed by virtue of his plea of

guilty and defendant acknowledged his understanding of the same.

          The court next inquired as to the defendant’s plea and

the defendant responded that he intended to plead guilty.                The

court explained the range of penalties to which the defendant

would be exposed by virtue of his guilty plea.            The court also

explained the statute under which this action is prosecuted and

the elements which the United States would have had to prove,

beyond a reasonable doubt, had the matter been tried.              The

Assistant United States Attorney then stated the factual basis

establishing that the defendant committed the offense to which he

was pleading guilty.      The defendant admitted that the factual

basis as stated was substantially true.

          The court further informed the defendant, pursuant to the

requirements of Rule 11 of the Federal Rules of Criminal

Procedure, of the constitutional and other rights he would waive

by pleading guilty to Count Ten of the Superseding Indictment.

The court then determined that the defendant understood those

rights.   The court advised the defendant that he could not

withdraw his plea if he was dissatisfied with the sentence

rendered.



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          The court inquired of the defendant personally as to

whether any threats or promises had been made to him to induce

him to plead, whether any predictions were made regarding the

sentence he might receive, and whether he had any second thoughts

about entering a plea of guilty, to which questions the defendant

responded in the negative.

          Based upon the defendant’s plea of guilty, as well as his

factual admission of guilt, the court found that there existed a

factual and legal basis for the defendant’s plea of guilty.

Based upon the United States’ proffer of evidence against the

defendant, the court found that there also existed an independent

factual basis for the defendant’s plea of guilty.             The court

further found that the defendant tendered his plea of guilty

voluntarily and with a full understanding and awareness of the

constitutional and other rights which he gives up by pleading

guilty, and with an awareness of what the United States would

have to prove against him if the case went to trial.              The court

further found that the defendant had an appreciation of the

consequences of his plea and accepted the defendant’s plea of

guilty.

          Pursuant to Sentencing Guideline § 6B1.1(c), the court

deferred an adjudication of guilt pending receipt of the

presentence investigation report.         Accordingly, the court
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adjudges and the defendant now stands provisionally guilty of

Count Ten of the Superseding Indictment.

         The court scheduled the disposition of this matter for

May 29, 2018, at 2:30 p.m., in Bluefield.             The Probation

Department is directed to conduct a presentence investigation in

this matter and to provide a report to this court.                 Unless

otherwise directed by this court, the probation officer is not to

disclose the officer’s sentencing recommendation to anyone except

the court.

         The defendant was remanded to the custody of the United

States Marshal.

         The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, the United States Marshal

for the Southern District of West Virginia and the Probation

Office of this court.

         IT IS SO ORDERED this 14th day of March, 2018.

                                          ENTER:


                                          David A. Faber
                                          Senior United States District Judge




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